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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     DAVID A. STEBBINS,                                 Case No. 21-cv-04184-JSW
                                                        Plaintiff,
                                   8
                                                                                            ORDER DENYING MOTION FOR
                                                 v.                                         PROTECTIVE ORDER
                                   9
                                         KARL POLANO, et al.,                               Re: Dkt. No. 179
                                  10
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Plaintiff’s motion for a protective order and sanctions is DENIED. Plaintiff offers no legal

                                  14   or factual basis supporting his request. Moreover, Plaintiff’s motion fails to comply with local

                                  15   rules and this Court’s order regarding his response to the administrative motion relate.

                                  16          IT IS SO ORDERED.

                                  17   Dated: March 28, 2023

                                  18                                                   ______________________________________
                                                                                       JEFFREY S. WHITE
                                  19                                                   United States District Judge
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